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                                          U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York
Or
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       January 18, 2024
VIA ECF

The Honorable Alvin K. Hellerstein
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:       United States v. Sung Kook (Bill) Hwang, et al., 22 Cr. 240 (AKH)

Dear Judge Hellerstein:

         The Government respectfully writes to advise the Court and the parties that a grand jury
has returned a superseding indictment in this matter, which principally revises and clarifies the “to
wit” clause of Count Eleven to remove reference to any “right to control,” and to request that time
be excluded under the Speedy Trial Act until the trial date of February 27, 2024, or any revised
trial date that the Court sets.

        A grand jury today returned Indictment S1 22 Cr. 240 (AKH) (“the Superseding
Indictment”), which is enclosed for the Court’s convenience. The Superseding Indictment does
not add or subtract Counts, it does not add any additional defendants, and it does not allege any
new or different facts. The Superseding Indictment revises and clarifies certain language in Count
Eleven, which charges the defendants with wire fraud, and in the forfeiture notice provision. The
same Rule 16 discovery already produced in the case supports the Superseding Indictment, which
will not require the production of any new Rule 16 discovery material.

       The revisions to the original Indictment contained in the Superseding Indictment are, in
sum:

             •   The word “willfully” has been removed from Count Eleven, in order to conform to
                 the correct elements of the charge. See, e.g., United States v. Novis, No. 20 Cr. 335
                 (JMA), 2023 WL 4746541, at *22 (E.D.N.Y. July 24, 2023) (“no instruction should
                 have been given on willfulness because willfulness is not an element of mail or
                 wire fraud”).

             •   The “to wit” clause of Count Eleven has been revised to remove reference to the
                 counterparties’ “rights-to-control their assets.”

             •   Certain, non-substantive edits and formatting changes have been made, such as the
                 correction of typographical or syntactical errors.
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           •   The wording of the forfeiture notice provision has been amended to describe the
               forfeitability of, among other things, the defendants’ interests in “the enterprise
               named and described herein” and “a sum of money in United States currency
               representing the amount of proceeds traceable to the commission of said offense.”

For the Court’s convenience, the Government encloses a blackline reflecting each change between
the original Indictment and the Superseding Indictment.

        In light of the Superseding Indictment’s change to the “to wit” clause of Count Eleven, the
defendants’ renewed motion to dismiss Count Eleven (ECF Doc. 124) should be denied as moot.
The defendants argue that the U.S. Supreme Court’s decision in Ciminelli v. United States, 598
U.S. 306, 309 (2023), invalidates Count Eleven because, in the defendants’ view, the original
Count Eleven was “expressly and solely” premised on a right-to-control theory that Ciminelli has
since rejected. See ECF Doc. 124 at 2. The defendants are wrong about the original Count Eleven.
See ECF Doc. 53 at 55 & n.11 (Government Opposition to Motion to Dismiss discussing
Ciminelli). But now the language in the original Count Eleven is irrelevant: Count Eleven now
contains no “right to control” language, uses only traditional wire fraud language, and therefore
makes plain that the Superseding Indictment charges the defendants on a traditional wire fraud
theory. Moreover, the Government is not requesting that the trial jury be charged on a right to
control theory for Count Eleven, so there is no prospect of the jury convicting the defendants of
Count Eleven on any basis other than a traditional wire fraud theory. Accordingly, the defendants’
motion to dismiss the original Count Eleven based on Ciminelli should be denied as moot.

        Finally, the Government respectfully requests that time be excluded from today until
February 27, 2024, or any revised trial date that the Court sets, under the Speedy Trial Act, in the
interests of justice and particularly to allow the parties sufficient time to prepare for trial. The
Government has contacted defense counsel to seek their position with respect to exclusion of time
from calculation under the Speedy Trial Act, and as to whether to defer arraignment on the
Superseding Indictment until the next pretrial conference.

                                                 Respectfully submitted,

                                                 DAMIAN WILLIAMS
                                                 United States Attorney


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Cc: Counsel of Record (via ECF)
